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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )                   4:08CR3148
                                             )
              V.                             )
                                             )                 MEMORANDUM
ANGEL M. KOSKI,                              )                  AND ORDER
                                             )
                     Defendant.              )

       In light of the fact that a hearing on the defendant’s desire to enter a guilty plea has
been set for September 4, 2009,

       IT IS ORDERED that the status telephone conference concerning competency and
related inquiries scheduled for August 27, 2009, is canceled with the understanding that the
question of competency will be considered on September 4, 2009.

       DATED this 24th day of August, 2009.

                                           BY THE COURT:

                                           Richard G. Kopf
                                           United States District Judge
